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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

  SOLIMAR ECHEVARRIA and
  LINNETTE M. CONDE REYES,

                  Plaintiffs,                         Case No. 6:20-cv-1406-PGB-DCI

                      vs.

  NAVIENT SOLUTIONS, LLC and,
  INSTITUTE OF TECHNICAL ARTS,
  LLC,

                 Defendant.
                                              /

                     DEFENDANT NAVIENT SOLUTIONS, LLC’S
                   MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

         Plaintiffs Solimar Echevarria and Linnette M. Conde Reyes (“Plaintiffs”) assert a

  single claim for breach of contract against Defendant Navient Solutions, LLC (“NSL”), based

  on the denial of Plaintiffs’ applications for discharge of federal student loans. However,

  Plaintiffs cannot establish a prima facie breach of contract claim. Indeed, their own documents

  show that NSL was not a party to the promissory notes at issue. As this deficiency cannot be

  cured by amendment, Plaintiffs’ Complaint [Dkt. 1-1] against NSL should be dismissed with

  prejudice.

                                 FACTUAL BACKGROUND

         A.      Plaintiffs’ Student Loans.

         On or around October 2014, Plaintiff Solimar Echevarria (“Echevarria”) applied for

  admission to the Institute of Technical Arts, LLC (“ITA”). [Dkt. 1-1 at ¶ 11]. To fund her

  college education, Echevarria applied for and became a borrower under the William D. Ford




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  Federal Direct Loan Program (“Direct Loan”) on October 27, 2014. See generally, Exhibit A 1;

  [Dkt. 1-1 at 13]. The Direct Loan program is a federal student loan program through which

  eligible students and parents borrow directly from the U.S. Department of Education (“DOE”)

  at participating schools. 2 NSL serviced Echevarria’s Direct Loans. [Dkt. 1-1 at 13].

           In order to assist her daughter in funding her higher education, Echevarria’s mother,

  Linnette M. Conde Reyes (“Reyes”), entered into a Direct Plus Loan. [Dkt. 1-1 at, ¶ 16]; [Dkt.

  1-1 at 16-27, 59-60]. NSL services Reyes’ Direct Plus Loan.

           B.         Plaintiffs’ Discharge Applications and Lawsuit.

           Echevarria claims to have attended ITA from October 22, 2014 to July 15, 2015, at

  which time she requested a medical leave of absence. [Dkt. 1-1 at ¶ 17-18]. While on medical

  leave, Echevarria received an email from ITA advising that the campus closed “effective

  9/3/2015 until 9/13/2015. The campus will tentatively re-open on 9/14/2015.” [Dkt. 1-1 at

  30].

           On September 22, 2015, Plaintiffs filed Loan Discharge Applications (“Applications”),

  allegedly after they learned that the DOE and the Inspector General raided the ITA campus

  and closed the school. [Dkt. 1-1 at ¶¶ 21, 25]; [Dkt. 1-1 at 34-40]. On October 27, 2017, NSL

  advised Plaintiffs of the DOE’s decision to deny the Applications. [Dkt. 1-1 at 59-62]. The




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              “[W]here the plaintiff refers to certain documents in the complaint and those documents are central to
  the plaintiff’s claim, then the Court may consider the documents part of the pleadings for purposes of a Rule
  12(b)(6) dismissal.” Brooks v. Blue Cross & Blue Shield of Fl., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997). The
  Court may also consider matters of which it may take judicial notice. GSW, Inc. v. Long Cnty., Ga., 999 F.2d
  1508, 1510 (11th Cir. 1993); see also, Fed. R. Civ. P. 10 (c) (“A copy of a written instrument that is an exhibit to
  a pleading is a part of the pleading for all purposes.”).
           2
               https://studentaid.gov/help-center/answers/article/federal-direct-loan-program (last visited on August
  10, 2020).




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  denial letter expressly stated that Plaintiffs’ loans “are owned by the U.S. Department of

  Education. The terms of the federal student loan programs are not determined by [NSL], they

  are established by federal law, in particular by the Higher Education Act of 1965, as amended,

  and U.S. Department of Education regulations. Among other things, the law and regulations

  set borrowing limits, interest rates, eligibility for subsidies, repayment plans, capitalization of

  interest, and loan forgiveness.” [Dkt. 1-1 at 60] (emphasis added). Plaintiffs filed suit on June

  5, 2020 and asserted a breach of contract claim against NSL, claiming that the denial of the

  Applications breached certain discharge provisions contained in their applicable Promissory

  Notes.

                                           ARGUMENT

  I.       Standard of Review.

           The Court should dismiss a Complaint for failure to state a claim if it lacks “factual

  content that allows the court to draw the reasonable inference that the defendant is liable for

  the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To survive a motion to

  dismiss, a complaint or counterclaim “must allege sufficient ultimate facts showing entitlement

  to relief.” Stein v. BBX Capital Corp., 241 So. 3d 874, 876 (Fla. 4th DCA 2018) (quotation

  omitted). While the Court must accept the facts alleged in the complaint as true “and make all

  reasonable inferences in favor of the pleader, conclusory allegations are insufficient.” Id.

  (citing Shands Teaching Hosp. and Clinics, Inc. v. Estate of Lawson ex rel. Lawson, 175 So.

  3d 327, 331 (Fla. 1st DCA 2015) (en banc).) Pleading “opinions, theories, legal conclusions or

  argument” is also insufficient. Barrett v. City of Margate, 743 So. 2d 1160, 1163 (Fla. 4th

  DCA 1999); see also Davis v. Bay Cty. Jail, 155 So. 3d 1173, 1177 (Fla. 1st DCA 2014)




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  (“Under Florida procedural law, a complaint that simply strings together a series of sentences

  and paragraphs containing legal conclusions and theories does not establish a claim for

  relief.”) (citations omitted).

          In a complaint, a plaintiff must allege “enough facts” to state a prima facie case for

  relief. Bell Atlantic v. Twombly, 550 U.S. 544, 570 (2007) “A claim has facial plausibility

  when the plaintiff pleads factual content that allows the court to draw the reasonable inference

  that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly,

  550 U.S. at 556); CEMEX Constr. Materials Florida, LLC v. Armstrong World Indus., Inc.,

  3:16-CV-186-J-34JRK, 2018 WL 905752, at *7 (M.D. Fla. Feb. 15, 2018) (citing Twombly,

  550 U.S. at 556, 570).

  II.     The Court Should Dismiss Plaintiffs’ Breach of Contract Claim Because NSL Is
          Not A Party to the Promissory Notes.

          A breach-of-contract claim has three elements: a valid contract, a material breach, and

  damages. See Beck v. Lazard Freres & Co., LLC, 175 F.3d 913, 914 (11th Cir. 1999) (citation

  omitted); J.J. Gumberg Co. v. Janis Serv., Inc., 847 So. 2d 1048, 1049 (Fla. 4th DCA 2003)

  (citation omitted). As a preliminary matter, a breach of contract action cannot be maintained

  against a defendant unless that defendant is a party to a valid, binding contract. Bartels v.

  Alabama Commercial Coll., Inc., 918 F. Supp. 1565, 1572 (S.D. Ga. 1995), aff'd in part, rev'd

  in part sub nom. Bartels v. Alabama Commercial Coll., 189 F.3d 483 (11th Cir. 1999);

  Katchmore Luhrs, LLC v. Allianz Global Corp. & Speciality, No. 15-cv-23420, 2017 U.S. Dist.

  LEXIS 13778, at *14 (S.D. Fla. Jan. 31, 2017) (citing Sumitomo Corp. of Am. v. M/V Saint

  Venture, 683 F. Supp. 1361, 1369 (M.D. Fla. 1988)) (“It is hornbook law that privity of

  contract ‘is essential to the maintenance of an action on any contract.’”); Lokey v. F.D.I.C.,




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  608 Fed. Appx. 736, 739 (11th Cir. 2015) (“A breach-of-contract claim depends, a priori, on

  the existence of a contract.”). Contrary to Plaintiffs’ allegations, the exhibits attached to the

  Complaint clearly demonstrate that there is no contract between the Plaintiffs and NSL. Adams

  Arms, LLC v. Unified Weapon Sys., Inc., Case No. 8:16-cv-1503-T-33AEP, at *23 (M.D. Fla.

  Feb. 8, 2017) (dismissal granted because “a contract does not bind one who is not a party to

  the contract…”); Lokey, 608 Fed. Appx. at 739 (summary judgment granted because defendant

  was non party to contract); Biscayne Inv. Grp., Ltd. v. Guarantee Management Servs., Inc.,

  903. So. 2d 251, 255 (Fla. 3d DCA 2005) (as a general rule, non-parties to a contract cannot

  be sued for breach of a contract).

         Plaintiffs wrongly allege that NSL “makes student loans backed by the U.S.

  Department of Education…” and claim that they entered into contracts with NSL as the lender

  on their federal loans. [Dkt. 1-1 at ¶¶ 9, 33]. Not so. The exhibits attached, referenced, and

  incorporated in the Complaint expressly state that the DOE is the Plaintiff’s lender for the loans

  at issue. For example, Exhibit B to Plaintiffs’ Complaint, a letter from NSL regarding

  repayment of the loans, expressly states that Plaintiffs’ “loan provider” is the DOE. [Dkt. 1-1

  at 13]. The promissory notes further identify the DOE, not NSL, as the lender of the loans at

  issue. (“Direct Loans are made by the Department of Education”) [Dkt. 1-1 at 20]. In fact,

  Exhibit D to the Complaint, which appears to be a snapshot of details regarding one of

  Plaintiffs’ loans, expressly states that the “Lender” is the “U.S. Department of Education.”

  [Dkt. 1-1 at 27]. Even Plaintiffs’ Applications define the “holder of your Direct Loan Program

  loan(s)” the DOE. [Dkt. 1-1 at 38]. Moreover, when NSL notified Plaintiffs of the DOE’s

  decision to deny the Applications, the denial letter expressly advised that the loans




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                 are owned by the U.S. Department of Education. The terms of
                 the federal student loan programs are not determined by [NSL],
                 they are established by federal law, in particular by the Higher
                 Education Act of 1965, as amended, and U.S. Department of
                 Education regulations. Among other things, the law and
                 regulations set borrowing limits, interest rates, eligibility for
                 subsidies, repayment plans, capitalization of interest, and loan
                 forgiveness.

  [Dkt. 1-1 at 60] (emphasis added).

         Plaintiffs’ Complaint, and the exhibits incorporated therein, establish that NSL was not

  Plaintiffs’ lender, nor a party to the Promissory Notes. As such, it could not have “breached”

  any contracts it was not a party to. Because the Promissory Notes form the basis of Plaintiffs’

  breach of contract claim, their Complaint must be dismissed with prejudice, as any amendment

  would be futile. See, e.g., Estate of Faull by Jacobus v. McAfee, 727 Fed. Appx. 548, 549

  (11th Cir. 2018) (citations omitted) (recognizing it is proper to deny leave to amend if

  amendment would be futile).

                                          CONCLUSION

         Because Plaintiffs cannot establish a prima facie breach of contract claim, and any

  attempts to amend would be futile, Defendant Navient Solutions, LLC, respectfully requests

  that the Court dismiss Plaintiffs’ Complaint in its entirety.




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        Dated: August 14, 2020                Respectfully submitted,

                                              /s/ Aliza Malouf
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                                CERTIFICATE OF SERVICE

         I certify that on August 14, 2020, the foregoing document was electronically filed with

  the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on

  all counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.



                                                 /s/ Aliza Malouf
                                                 Aliza Malouf




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